                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-129-HSM-SKL
                                                       )
 v.                                                    )
                                                       )
 ANTHONY LONG                                          )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 14, 2014.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the six-count

 Second Superseding Indictment and entered a plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to distribute a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(C) in exchange for the undertakings made by the government in the

 written plea agreement. On the basis of the record made at the hearing, I find the defendant is fully

 capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; the defendant

 understands the nature of the charge and penalties provided by law; and the plea has a sufficient

 basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Second Superseding Indictment be granted, his plea of guilty to the lesser included

 offense of the charge in Count One, that is of conspiracy to distribute a mixture and substance




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 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) be accepted, the Court adjudicate defendant guilty

 of the lesser included offense of the charge in Count One of the Second Superseding Indictment, that

 is of conspiracy to distribute a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(C), and a decision on whether to accept the plea agreement be deferred until sentencing.

 I further RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance

 of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.



                                                 s/ Susan K. Lee
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE


                                        NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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